514 F.2d 894
    89 L.R.R.M. (BNA) 2704, 169 U.S.App.D.C. 58,77 Lab.Cas.  P 10,883
    N. L. R. B.v.Masonic and Eastern Star Home of District of Columbia
    74-1218
    UNITED STATES COURT OF APPEALS District of Columbia Circuit
    5/30/75
    
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      N.L.R.B.
    
    
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      ENFORCEMENT GRANTED*
    
    
      
        *
         The judgment or order is accompanied by a Memorandum explanatory of the judgment.  Such memorandum is not included with the opinions of the Court that are printed, and it may not be cited in briefs or memoranda of counsel as precedents, under local rule
      
    
    